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                    UNITED STATES DISTRICT COURT
                               FOR THE
                         DISTRICT OF VERMONT

UNITED STATES OF AMERICA               :
                                       :
     v.                                : Case No. 2:06-CR-16-1
                                       :
WALDO YAGO                             :

                                 ORDER

          The Report and Recommendation of the United States

Magistrate Judge was filed April 27, 2007.            After careful

review of the file and the Magistrate Judge's Report and

Recommendation, no objections having been filed by any party,

this Court ADOPTS the Magistrate Judge's recommendations in

full for the reasons stated in the Report.

     A district judge must make a de novo determination of

those portions of a magistrate judge's report and

recommendation to which an objection is made.             Fed. R. Civ. P.

72(b); 28 U.S.C. § 636(b) (1); Perez-Rubio v. Wyckoff, 718

F.Supp. 217, 227 (S.D.N.Y. 1989).         The district judge may

"accept, reject, or modify, in whole or in part, the

magistrate's proposed findings and recommendations."               Id.

      The motion to suppress ( Paper 33)is DENIED.

     Dated at Burlington, in the District of Vermont, this 15th

day of May, 2007.



                                  /s/ William K. Sessions III
                                  William K. Sessions III
                                  Chief Judge
